Case 1:23-cv-01009-RBK-MJS Document 2 Filed 03/03/23 Page 1 of 3 PageID: 10




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
____________________________________
JAY N. SYKES,                        :
                                     :
            Plaintiff,               :   Civ. No. 23-1009 (RBK) (MJS)
                                    :
      v.                            :
                                    :
MALLORY, et al.,                    :    MEMORANDUM & ORDER
                                    :
            Defendants.             :
____________________________________:

       Plaintiff is currently incarcerated at the Burlington County Jail in Mount Holly, New

Jersey. Plaintiff is proceeding pro se with a civil complaint. To date, Plaintiff has neither paid the

filing fee nor has he applied to proceed in forma pauperis.

       A prisoner who seeks to bring a civil action in forma pauperis must submit an affidavit,

including a statement of all assets, which states that the prisoner is unable to pay the applicable

filing fee. See 28 U.S.C. § 1915(a)(1). The prisoner must also submit a certified copy of his

inmate trust fund account statement for the six-month period immediately preceding the filing of

his complaint. See id. § 1915(a)(2). The prisoner must obtain this statement from the appropriate

official of each prison at which he was or is confined. See id.; see also L. Civ. R. 81.2(b)

(“Whenever a Federal, State, or local prisoner submits a civil rights complaint . . . the prisoner

shall also submit an affidavit setting forth information which establishes that the prisoner is

unable to pay the fees and costs of the proceedings and shall further submit a certification signed

by an authorized officer of the institution certifying (1) the amount presently on deposit in the

prisoner’s prison account and, (2) the greatest amount on deposit in the prisoner’s prison account

during the six-month period prior to the date of the certification.”).
Case 1:23-cv-01009-RBK-MJS Document 2 Filed 03/03/23 Page 2 of 3 PageID: 11




        Even if a prisoner is granted in forma pauperis status, he must pay the full amount of the

filing fee of $350.00. See 28 U.S.C. § 1915(b)(1). In each month that the amount in the

prisoner’s account exceeds $10.00, the agency having custody of the prisoner shall assess, deduct

from the prisoner’s account, and forward to the Clerk of the Court, payment equal to 20 % of the

preceding month’s income credited to the prisoner’s account. See id. § 1915(b)(2). The

deductions will continue until the $350.00 filing fee is paid.

        Even if the necessary fees are paid and the complaint is accepted for filing, the Court may

nevertheless immediately dismiss the case. The Court must review the complaint and dismiss it if

it finds that the action is: (1) frivolous or malicious; (2) fails to state a claim upon which relief

may be granted; or (3) seeks monetary relief against a defendant who is immune from such

relief. See id. § 1915(e)(2)(B); see also id. § 1915A(b). If the plaintiff has, on three or more prior

occasions while incarcerated, brought an action or appeal in a court that was dismissed on the

grounds listed above, he cannot bring another action in forma pauperis unless he is in imminent

danger of serious physical injury. See id. § 1915(g).

        In this case, Plaintiff has not paid the filing fee nor has he applied to proceed in forma

pauperis. Plaintiff’s failure to submit the filing fee or a complete application to proceed in forma

pauperis necessitates administratively terminating this matter. Plaintiff may reopen this action by

either paying the filing fee or submitting a proper complete in forma pauperis application.

        Accordingly, IT IS on this 3rd day of March, 2023,

        ORDERED that the Clerk shall administratively terminate this case; Plaintiff is informed

that administrative termination is not a “dismissal” for purposes of the statute of limitations, and

that if the case is reopened, it is not subject to the statute of limitations time bar provided the

original complaint was timely; and it is further



                                                   2
Case 1:23-cv-01009-RBK-MJS Document 2 Filed 03/03/23 Page 3 of 3 PageID: 12




        ORDERED that Plaintiff may have the above-entitled case reopened, if, within thirty (30)

days of the date of the entry of this order, Plaintiff either pre-pays the $402 filing fee ($350 filing

fee plus $52 administrative fee) or submits to the Clerk a proper complete in forma pauperis

application; and it is further

        ORDERED that upon receipt of a writing from Plaintiff stating that he wishes to reopen

this case and a proper complete in forma pauperis application or filing fee within the time

allotted by this Court, the Clerk will be directed to reopen this case; and it is further

        ORDERED that the Clerk shall serve on Plaintiff by regular U.S. mail: (1) this

memorandum and order; and (2) a blank form application to proceed in forma pauperis by a

prisoner in a civil rights case.




                                                               s/ Robert B. Kugler
                                                               ROBERT B. KUGLER
                                                               United States District Judge




                                                   3
